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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF NEW YORK



 THOMAS SCHANSMAN, et al.,                                   Case No. 1:19-cv-02985-ALC-GWG

                                Plaintiffs,                  Hon. Andrew L. Carter, Jr.

         v.

 SBERBANK OF RUSSIA, PJSC, et al.,

                                Defendants.


                       SBERBANK’S OPPOSITION TO
        PLAINTIFFS’ PROPOSED PLAN FOR JURISDICTIONAL DISCOVERY

       Sberbank has provided Plaintiffs with over 3000 pages of factual evidence concerning

Sberbank’s ownership structure (at both the time the original complaint was filed and at the time

the SAC was filed) and Russian legal authorities concerning the core functions of the Bank of

Russia. Plaintiffs’ revised jurisdictional discovery plan fails to “outlin[e] what specific facts

crucial to an immunity determination remain at issue and what specific category of facts and/or

expert evidence they seek that would prove those specific facts,” as directed by this Court at the

February 4, 2022 Status Conference. Feb. 4, 2022 Tr. at 3:18-21 (emphases added), ECF No. 287.

       Instead, Plaintiffs identify three broad legal principles, designated as “Issues” in their

proposed plan, and propound free-wheeling document requests that “might” result in the

production of documents relating to those issues (including documents that have already have been

disclosed and related to undisputed facts such as Sberbank’s ownership structure). Because

Plaintiffs fail to identify a single disputed fact, any additional jurisdictional discovery of Sberbank

under the FSIA is unwarranted under the Court’s Order and controlling law. See Order 1

(authorizing “limited” jurisdictional discovery “focused on the specific facts relevant to


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determining whether Sberbank is a foreign sovereign”), ECF No. 266; Arch Trading Corp. v.

Republic of Ecuador, 839 F.3d 193, 207 (2d Cir. 2016) (“When sovereign immunity is at issue,

discovery is warranted only to verify allegations of specific facts crucial to an immunity

determination.” (quotation omitted)). Accordingly, this Court should direct that the Parties

expeditiously complete briefing on Sberbank’s motion to dismiss for lack of subject-matter

jurisdiction under the FSIA.

       Beyond the failure to identify any disputed “specific facts,” Plaintiffs’ proposed

jurisdictional discovery plan contains several other fundamental flaws:

       First, Plaintiffs’ proposed plan fails to explain why the Bank of Russia’s core functions

cannot be determined as a matter of Russian law, based on the detailed Russian law declaration of

Professor Efimova (ECF No. 260) and any countervailing expert declaration that Plaintiffs may

submit. Plaintiffs acknowledge the relevance of Russian law by seeking documents concerning

Professor Efimova’s opinion on the relationship between the Bank of Russia and the Russian

Federation (see Pls.’ Proposed Plan Issue 1(B))—documents that Sberbank has already

produced—but Plaintiffs fail to articulate any reason why this Court cannot resolve any questions

about this relationship on the Russian law declarations alone. In the absence of any specific

disputed facts, the Parties’ written submissions provide more than a sufficient record for

application of the “core functions” test. See Garb v. Republic of Poland, 440 F.3d 579, 594-95

(2d Cir. 2006) (relying on the Constitution of Poland, an academic article on Polish constitutional

politics, and an expert affidavit to determine “political subdivision” status of entity); SerVaas Inc.

v. Republic of Iraq, 653 F. App’x 22, 25 (2d Cir. 2011) (concluding with “no difficulty that the

core functions of the” entity “are primarily governmental” based on Iraq’s submissions of Iraqi

law); Gleissner v. Air China Airlines Ltd., No. 15-cv-9162-ER, 2019 WL 1369456, at *4 (S.D.N.Y.




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Mar. 26, 2019) (finding that entity was “not a political subdivision” under the core functions test

where its annual report described it as a “holding company” and “state-owned enterprise”).

       Further, Plaintiffs’ proposed plan makes no effort to justify a deposition of Professor

Efimova. U.S. courts routinely decide questions of foreign law on the parties’ written submissions

from foreign law experts, without the need for depositions. See, e.g., Kashef v. BNP Paribas SA,

No. 16-cv-3228-AJN, 2017 WL 2633580, at *2 (S.D.N.Y. June 15, 2017) (denying plaintiffs’

request to lift discovery stay to depose defendants’ Sudanese law expert, who submitted a

declaration in support of defendants’ motion to dismiss, and concluding that “the determination of

foreign law is generally a question of law for the Court to decide”); Wultz v. Islamic Republic of

Iran, No. 08-cv-1460, 2010 WL 4166773, at *2 (D.D.C. Oct. 20, 2010) (denying plaintiffs’ motion

for leave to depose defendant’s Israeli law experts prior to court’s adjudication of motion to

dismiss claims based on Israeli law).

       In any event, Plaintiffs’ proposed plan is unworkable because it makes no provision for a

deposition of any proposed rebuttal expert Plaintiffs may introduce. Thus, to the extent Plaintiffs

intend to rely upon a Russian law expert and the Court deems expert depositions are necessary,

Plaintiffs should produce their rebuttal declaration (together with materials on which their expert

relies) before any deposition of Professor Efimova takes place. And Sberbank should have the

opportunity to depose Plaintiffs’ Russian law expert before submitting its reply brief in support of

its Motion to Dismiss.

       Second, Plaintiffs’ proposed plan improperly focuses on the Bank of Russia’s relationship

with Sberbank, instead of the Bank of Russia’s overall functions and relationship with the Russian

Federation. The “core functions” test focuses on the latter. See Garb, 440 F.3d at 594 (considering

whether the Ministry of the Treasury of Poland was an “integral part” of Poland’s “political




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structure”). Facts concerning interactions between the Bank of Russia and Sberbank are not crucial

to a determination of whether the Bank of Russia engages in predominantly governmental

functions, and Plaintiffs have failed to establish otherwise. See, e.g., Pls.’ Proposed Plan Issue

1(A); Issue 2(A)-(F).

       In any event, the nature of Sberbank’s relationship with its former majority shareholder is

plain from the face of Sberbank’s publicly available corporate governance documents. For

example, Sberbank’s Charter, approved by the Annual General Meeting of Shareholders Minutes

No. 32 dated May 29, 2019, provides a wealth of information concerning the relationship between

Sberbank and the Bank of Russia. See, e.g., Sberbank Charter § 1.14 (“The Bank shall not be

liable for the obligations of the Bank of Russia. The Bank of Russia shall not be liable for the

obligations of the Bank unless the Bank of Russia has assumed such obligations.”). Plaintiffs have

failed to justify their proposed intrusive discovery into Sberbank’s “communications and

statements” concerning the governmental or commercial nature of the Bank of Russia or the

workings of Sberbank’s Supervisory Board, or explain how that discovery bears on this Court’s

determination of whether the Bank of Russia engages in predominantly governmental functions.

See Pls.’ Proposed Plan, Issue 1 (A), (C).

       Plaintiffs’ proposed plan also fails to articulate how any commercial function of the Bank

of Russia vis-à-vis Sberbank would assist in the predominance analysis under Garb, which

requires this Court to examine the Bank of Russia’s overall functions to determine whether those

functions are predominantly governmental or commercial.              Moreover, Professor Efimova

addresses the Bank of Russia’s relationship with Sberbank in her declaration (¶¶ 20-21), and

Plaintiffs have failed to articulate any specific facts about that relationship that are not covered in

Professor Efimova’s declaration and that are crucial to this Court’s immunity determination.




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        Third, Plaintiffs target information that is self-evidently not discoverable from Sberbank—

for example, information concerning the relationship of the Bank of Russia’s employees to the

Russian Federation and the Bank of Russia’s corporate tax liabilities. See, e.g., Pls.’ Proposed

Plan Issue 1(D); Issue 2(A)-(F). The Bank of Russia is not a party to this litigation and is immune

from jurisdictional discovery. See Uni-Top Asia Inv. Ltd. v. Sinopec Int’l Petroleum Expl. & Prod.,

No. 20-cv-1770, 2022 WL 252029, at *4 (D.D.C. Jan. 26, 2022) (explaining that “any discovery

request is likely to be futile as to whether” an entity’s “shareholders are ‘political subdivisions’”

where “[n]one of those shareholders [was] a party” to the case). Plaintiffs, however, do not require

discovery to obtain this information, which can be found in the Bank of Russia’s public reports

and assessed as a matter of Russian law. See, e.g., Efimova Decl. ¶¶ 27, 32 (explaining that,

pursuant to the Law on the Bank of Russia, members of the Bank of Russia’s Board of Directors

are “full-time employees of the Bank of Russia” and that the National Financial Board is

responsible for setting Bank of Russia employee compensation and benefits); Law on the Bank of

Russia, ch. XIV (“Bank of Russia Employees”), ECF No. 260-5; Bank of Russia, 2019 Annual

Report 295 (indicating negative tax liabilities under Article 284 of the Tax Code of the Russian

Federation due to advance payment). 1

        Fourth, contrary to this Court’s January 13 Order and Second Circuit law, Plaintiffs’

proposed plan improperly seeks broad merits discovery couched as jurisdictional discovery under

the FSIA’s commercial-activity exception regarding Sberbank’s “purely commercial activity in

the United States.” Pls.’ Proposed Plan Issue 3. The January 13 Order directed “jurisdictional

discovery limited to the specific facts relevant to determining whether Sberbank is a foreign




1
  The Bank of Russia’s annual reports (1997-present) are accessible, in English, on the Bank of Russia’s website:
http://www.cbr.ru/eng/about_br/publ/god/ (last accessed Feb. 23, 2022).



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sovereign.” Order 1, ECF No. 266. Therefore, any discovery beyond what is necessary to

determine whether Sberbank is an “agency or instrumentality” within the meaning of the FSIA is

unwarranted. Arch Trading, 839 F.3d at 207; Funk v. Belneftekhim, 861 F.3d 354, 367 (2d Cir.

2017) (plaintiffs entitled only to “specific facts of ownership and structure that are crucial to an

immunity determination” but were not “yet entitled to discovery as to whether the commercial

activity exception applies” (citations omitted)).

       Moreover, as Sberbank has previously argued, the commercial-activity exception does not

apply as a matter of law to Plaintiffs’ complaint brought under the Anti-Terrorism Act (“ATA”).

See MTD Br. 21-23 (explaining that 18 U.S.C. § 2337 bars ATA claims against foreign states

unless, under 28 U.S.C. § 1605B, the terrorist attack at issue occurred in the United States), ECF

No. 258. Before permitting burdensome discovery relating to alleged commercial activity in the

United States, the Court should decide the threshold legal question of whether the commercial-

activity exception even applies to ATA claims.

       Finally, Plaintiffs’ proposed plan also fails to articulate any specific justification for a Rule

30(b)(6) deposition. Jurisdictional discovery must be “circumspect” and narrowly tailored “only

to verify allegations of specific facts crucial to an immunity determination.” Arch Trading, 839

F.3d at 206, 207 (holding that “sovereign immunity protects” foreign states from “the expense,

intrusiveness, and hassle of litigation”). Requests for depositions are regularly denied in similar

jurisdictional discovery situations arising under the FSIA. See, e.g., Scheidemann v. Qatar

Football Ass’n, No. 04-cv-3432-LAP, 2008 WL 144846, at *6-7 (S.D.N.Y. Jan. 15, 2008)

(denying deposition request where testimony had no bearing on threshold determination of

whether defendants were “organs” under the FSIA); Solgas Energy Ltd. v. Fed. Gov’t of Nigeria,

No. H-09-368, 2010 WL 11679364, at *12-14 (S.D. Tex. Feb. 9, 2010) (quashing deposition




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request on Central Bank of Nigeria). The five topics designated for the proposed deposition suffer

from the same flaws as Plaintiffs’ document requests, in that they seek discovery of irrelevant

material unrelated to any specified disputed fact.

         For the reasons stated above and below in response to each of Plaintiffs’ specific requests,

Sberbank submits that the Court should deny Plaintiffs any further jurisdictional discovery and set

the remaining briefing schedule proposed below on Sberbank’s motion to dismiss for lack of

subject-matter jurisdiction.

           SBERBANK’S RESPONSES TO PLAINTIFFS’ SPECIFIC REQUESTS

Plaintiffs’ Proposed Issue 1: The degree of independence the Central Bank of the Russian
Federation enjoys vis-à-vis the Russian Federation’s and the Federation’s agencies of state
power. 2

Sberbank’s Response: Plaintiffs’ document requests regarding the Bank of Russia’s degree of

independence are irrelevant under the core functions test. By focusing on whether the Bank of

Russia maintains an “independent” status, Plaintiffs mistakenly draw on the “legal characteristics”

test, which asks whether “an entity could sue and be sued, own property, and contract in it its

name.” In re Terrorist Attacks on Sept. 11, 2001, 349 F. Supp. 2d 765, 791 (S.D.N.Y. 2005). But,

in 2006 in Garb, the Second Circuit expressly “rejected the ‘legal characteristics test’ in favor of

the ‘core functions’ test.” Gleissner, 2019 WL 1369456, at *4 n.3. Under the core functions test,

“a foreign entity’s status as a ‘separate legal person’ from a foreign state depends on ‘whether the

core functions of the foreign entity are predominantly governmental or commercial.’” Garb, 440

at 591 (quoting Transaero, Inc. v. La Fuerza Aerea Boliviana, 30 F.3d 148, 151 (D.C. Cir. 1994)).




2
  Sberbank objects to Plaintiffs’ use of the term “agencies of state power.” Plaintiffs apparently refer to the Russian
law concept of “federal state power bodies,” which are governmental entities or units that possess and use the
sovereign authority of the Russian Federation. See, e.g., Constitution of the Russian Federation, art. 75(2), ECF No.
260-6.



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       Contrary to the implication of Plaintiffs’ request, possessing hallmarks of independence

within the Russian constitutional framework does not disqualify the Bank of Russia from being a

“political subdivision” within the meaning of the FSIA. See Singh v. Caribbean Airlines Ltd., 798

F.3d 1355, 1359 (11th Cir. 2015) (explaining that “separate legal identity does not foreclose

political subdivision status” under the core functions test). Indeed, in the case cited by Plaintiffs,

the Ninth Circuit expressly adopted the core functions test and held that the Iranian Ministry of

Defense was “inherently a part of the political state,” while rejecting distinctions turning on

separate legal status. See Ministry of Def. & Support for Armed Forces of Islamic Republic of Iran

v. Cubic Def. Sys., Inc., 495 F.3d 1024, 1035 (9th Cir. 2007), rev’d sub nom. on other grounds

Ministry of Def. & Support for the Armed Forces of the Islamic Republic of Iran v. Elahi, 556 U.S.

366 (2009). Because Plaintiffs apply the wrong test for determining if the Bank of Russia is a

political subdivision, their individual requests seek irrelevant information.

   Plaintiffs’ Document Request A: Communications and statements from Sberbank
   officers about (1) the Central Bank’s independence from the Russian Federation, or
   (2) the governmental or commercial functions of the Central Bank, including in the
   context of the April 2020 transfer of Sberbank shares from the Central Bank to the
   Ministry of Finance.

Sberbank’s Response: The Bank of Russia’s relationship with the Russian Federation is a matter

of Russian law. “Communications and statements from Sberbank officers” regarding the Bank of

Russia’s relationship with the Russian Federation do not inform the core functions inquiry where

Sberbank officers do not bind, control, or speak for the Bank of Russia. Plaintiffs’ reliance on

Intelsat Glob. Sales & Mktg., Ltd. v. Cmt. of Yugoslav Posts Tels. & Tels., 534 F. Supp. 2d 32

(D.D.C. 2008)—which did not apply the core functions test—is misplaced. The “relevant”

communications in Intelsat were representations and statements made by the defendant about the

defendant itself and not statements about a third party. In contrast, “the context” of the transfer of

Sberbank shares from the Bank of Russia to the Ministry of Finance is irrelevant to the question

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of whether the Bank of Russia’s functions are predominantly governmental such that it is an

“integral part” of the Russian Federation’s political structure. See Garb, 440 F.3d at 594.

       In any event, Plaintiffs do not explain why discovery of Sberbank’s internal and external

“communications and statements”—which will yield, at best, circumstantial evidence concerning

the Bank of Russia’s status—is necessary when Russian law and publicly available documents

address these topics directly and authoritatively. Plaintiffs’ overly broad request would also

implicate Russian data privacy laws by requiring the production of communications of senior

Russian executives and officials, which would unnecessarily slow and complicate jurisdictional

discovery. Upon a minimal amount of due diligence and without resort to party discovery,

Plaintiffs can obtain the following publicly available information—however irrelevant—

concerning the share transfer, and which Sberbank is willing to provide as the Court may deem

necessary:

      Bank of Russia Press Release, Draft law for Bank of Russia’s divestment from Sberbank’s
       equity, dated February 11, 2020.
      Federal Law No. 49-FZ, dated March 18, 2020, “On the Transfer of Part of the Income
       Received by the Central Bank of the Russian Federation from the Sale of Ordinary Shares
       of Sberbank of Russia.”
      Federal Law No. 50-FZ, dated March 18, 2020, “On the Acquisition by the Government
       of the Russian Federation of Ordinary Shares of Public Joint-Stock Company Sberbank of
       Russia from the Central Bank of the Russian Federation and on Invalidating Certain
       Provisions of Legislative Acts of the Russian Federation.”
      Bank of Russia Press Release, Bank of Russia commentary on FX operations related to the
       acquisition of Sberbank shares by the National Wealth Fund, dated March 19, 2020.
      Bank of Russia Press Release, Bank of Russia sells its equity stake in Sberbank, dated April
       10, 2020.
      Bank of Russia Press Release, Bank of Russia and Government sign shareholder agreement
       on equity stake in Sberbank, dated May 7, 2020.
   Plaintiffs’ Document Request B: Documents that concern or relate to Professor
   Efimova’s opinion that the Russian Federation “possesses and exercises in practice the
   ability to control the operation of the” Central Bank through “the formation and
   operation of the National Financial board.”

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Sberbank’s Response: Plaintiffs’ request is duplicative of completed discovery. On February 7,

2022, Sberbank produced all documents Professor Efimova relied upon in her declaration. See

ECF No. 270 at 15-17.

    Plaintiffs’ Document Request C: Documents sufficient to show the independence (or lack
    thereof) of the members of Sberbank’s Supervisory Board from 2019 to present who are
    officers or personnel of the Central Bank or the Russian Federation, including the
    “agreement on representation of interests of the Government of the Russian Federation”
    referred to in Federal Law No. 50-FZ of March 18, 2020, which governs the Ministry of
    Finance’s acquisition of Sberbank shares from the Central Bank.

Sberbank’s Response: Plaintiffs erroneously focus on the relationship between the Bank of

Russia and Sberbank, which is not crucial to a determination of whether the Bank of Russia’s core

functions are predominantly governmental such that the Bank of Russia is an integral part of the

Russian Federation. The operations of Sberbank’s Supervisory Board simply do not bear on the

core functions of the Bank of Russia. Moreover, Plaintiffs’ request is unclear as to what documents

could illustrate the “independence” of Sberbank’s Supervisory Board beyond those documents that

are publicly available. For example, Article 5(5) of Federal Law No. 50-FZ provides that

government employees acting on Sberbank’s Supervisory Board shall be independent, “except as

specified, if they are instructed by the Government of the Russian Federation.” The members of

the Supervisory Board, including positions they hold outside of Sberbank, are published on

Sberbank’s website. 3 Even if this information were relevant (it is not), Sberbank is willing to

provide to Plaintiffs the following corporate governance documents, illustrating the duties and

functioning of Sberbank’s Supervisory Board:

       Regulations on the Supervisory Board of Sberbank of Russia.
       Regulations on the Supervisory Board Committees of Sberbank of Russia.



3
  See Sberbank Supervisory Board, https://www.sberbank.com/investor-relations/corporate-governance/supervisory-
board (last accessed Feb. 23, 2022).



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      Regulations on Remuneration and Compensation Paid to Members of the Supervisory
       Board of Sberbank of Russia.
      Amendments No. 2 to the Regulations on Remuneration and Compensation Paid to
       Members of the Supervisory Board of Sberbank of Russia.
      Succession Policy for Members of the Supervisory Board of Sberbank of Russia.
      Federal Law No. 50-FZ, dated March 18, 2020 (listed above).
      Charter of Sberbank of Russia, approved by the Annual General Meeting of Shareholders
       on May 24, 2019.
      Amendments No. 1 introduced to the Charter of Sberbank of Russia, approved by the
       Annual General Meeting of Shareholders on May 24, 2019.
      Code of Corporate Governance of Sberbank of Russia.
      Shareholder Agreement Between the Ministry of Finance of the Russian Federation and
       the Central Bank of the Russian Federation, dated April 30, 2020.
      Regulations on the General Meeting of Shareholders of Sberbank of Russia.
      Regulations on the Executive Board of Sberbank of Russia.
      Corporate Secretary Regulations of Sberbank of Russia.
   Plaintiffs’ Document Request D: Documents sufficient to show whether and to what
   extent employees of the Central Bank are considered employees of the Russian
   Federation or an agency of state power and are entitled to the benefits of said
   employment, such as documents describing the terms of employment or employee
   manuals.

Sberbank’s Response: Documents pertaining to the Bank of Russia’s employment policies are

properly directed to the Bank of Russia, and not to Sberbank. See Sinopec, 2022 WL 252029, at

*4 (explaining that “political subdivision” discovery on defendant’s shareholders was likely

“futile” as “none of those shareholders [was] a party” to the case). In any event, this information

can be found in the following laws and documents, which Sberbank is willing to provide should

the Court deem necessary:

      Federal Law No. 86-FZ, dated 10 July 2002, “On the Central Bank of the Russian
       Federation (Bank of Russia)” (previously produced), including specifically Chapter XIV
       “Bank of Russia Servants” (Arts. 88-92).
      Bank of Russia, “Allocation of duties between the Governor and Deputy Governors of the
       Bank of Russia.”


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      Bank of Russia, Annual Reports including (without limitation) for 2020 and 2019.
      Decree of the President of the Russian Federation No. 32, dated January 11, 1995, “On the
       Public Office Positions of the Russian Federation.”
Plaintiffs’ Issue 2: Whether the Bank of Russia’s core functions are “predominantly”
governmental or commercial in nature under Garb v. Republic of Poland, 440 F.3d 579 (2d
Cir. 2006).

Sberbank’s Response: Plaintiffs have not identified any factual disputes relating to this legal

inquiry, nor have they articulated why the Court should not decide issues of Russian law pursuant

to Rule 44.1 on the Parties’ written briefing and expert declarations. Fed. R. Civ. P. 44.1 (“The

court’s determination” of foreign law “must be treated as a ruling on a question law.”). The issue

of an entity’s legal status under the FSIA “presents a question of law for the court to decide.”

Funnekotter v. Agric. Dev. Bank of Zimbabwe, No. 13-cv-1917-CM, 2015 WL 3526661, at *8

(S.D.N.Y. June 3, 2015). Indeed, and as discussed above, courts ordinarily determine an entity’s

core functions on the basis of foreign law, expert declarations, and corporate documents. See

Garb, 440 F.3d at 594-95; SerVaas, 635 F. App’x at 25; Gleissner, 2019 WL 1369456, at *4.

   Plaintiffs’ Document Request A: Documents sufficient to show any commercial benefits
   accruing to the Central Bank from the sale of Sberbank’s shares to the Ministry of
   Finance, including documents reflecting the Central Bank’s profits generated by the sale
   of said shares and taxes paid on said profits pursuant to Article 284(5) of the Russian Tax
   Code, if applicable.

Sberbank’s Response: Document requests pertaining to any alleged “commercial benefits

accruing to” the Bank of Russia are properly directed to the Bank of Russia, and not to Sberbank.

See Sinopec, 2022 WL 252029, at *4. In any event, voluminous publicly available information

provides Plaintiffs what they purport to need to know. For example, the Bank of Russia’s 2020

Annual Report explains that the federal budget received 1.1 trillion rubles as a result of the Bank

of Russia’s sale of its equity stake in Sberbank to the Ministry of Finance. See Bank of Russia,




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2020 Annual Report 39, 229, 254, 267 (addressing revenue from the sale of its stake in Sberbank). 4

Sberbank is willing to provide the following information should the Court deem it necessary:

        Federal Law No. 49-FZ, dated March 18, 2020 (listed above).
        Federal Law No. 50-FZ, dated March 18, 2020 (listed above).
        Bank of Russia, Annual Reports (listed above).
     Plaintiffs’ Document Request B: Communications with the Central Bank concerning the
     Central Bank’s dual regulatory and commercial functions or the commercial effects of a
     transfer of a majority of Sberbank’s shares from the Central Bank to the Ministry of
     Finance, including any alleged conflict of interest generated by the Central Bank’s
     ownership and control of Sberbank.

     AND

     Plaintiffs’ Document Request C: Documents (other than registration certificates
     provided as exhibits to Sberbank’s motion to dismiss) that describe the Central Bank’s
     ownership of Sberbank’s shares in a manner that bears on the Central Bank’s
     governmental or commercial roles.

Sberbank’s Response: As discussed above, the relationship between Sberbank and the Bank of

Russia is not relevant to the core functions inquiry, which asks whether the Bank of Russia’s core

functions are predominantly governmental such that it is an “integral part” of the Russian

Federation’s political structure. Garb, 440 F.3d at 594. To the extent the relationship between

Sberbank and the Bank of Russia is considered relevant, Russian law, as explained by Professor

Efimova, describes the Bank of Russia’s regulatory authority over Sberbank and other aspects of

the Russian economy. See, e.g., Efimova Decl. ¶¶ 9-13 (describing the Bank of Russia’s regulatory

authority); ECF No. 289 n.11 (explaining the Bank of Russia’s role as a “mega-regulator”).

Similarly, publicly available Sberbank and Bank of Russia documents discuss at length the nature

of the Bank of Russia’s former majority ownership of Sberbank. For example, the Bank of

Russia’s 2019 Annual Report details the Bank of Russia’s activities vis-à-vis Sberbank (e.g.,


4
  See Bank of Russia, 2020 Annual Report, http://www.cbr.ru/Collection/Collection/File/39294/ar_2020.pdf (last
accessed Feb. 23, 2022).



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approval of a new Sberbank charter) under the heading “Bank of Russia stakeholdings in Russian

Economic Entities.” Bank of Russia, 2019 Annual Report 224. 5 Likewise, Sberbank’s 2019

Annual Report provides a chart explaining Sberbank’s corporate governance, including the

shareholders’ competencies and noting that the Bank of Russia maintained (as of 2019) a

controlling interest. Sberbank, 2019 Annual Report 88; see also id. at 121 (describing the Bank

of Russia as “the strategic investor” and differentiating “legal entities and private investors”).

         Plaintiffs again fail to explain why invasive and facially overbroad discovery of Sberbank’s

communications (and the barely probative evidence they may provide) is necessary when the scope

of the Bank of Russia’s regulatory activities, as well as Sberbank’s regulatory compliance, is

detailed extensively in public documents, which Sberbank is willing to provide should the Court

deem necessary:

        Federal Law No. 86-FZ, dated July 10, 2002, “On the Central Bank of the Russian
         Federation (Bank of Russia)” (previously produced).
        Bank of Russia, Annual Reports (listed above).
        Bank of Russia, Banking Regulation, Quarterly Information Bulletin.
        Bank of Russia, Webpage, “Financial Consumer Protection.”
        Bank of Russia, Webpage, “Information Security.”
        Bank of Russia, Webpage, “Countering Unfair Practices.”
        Bank of Russia, Webpage, “Countering Money Laundering and Currency Control.”
        Bank of Russia, Webpage, “Business Reputation.”
        Sberbank, Annual Reports for 2020 and 2019 (previously produced).
        Federal Law No. 208-FZ, dated December 26, 1995, “On Joint Stock Companies.”
        Federal Law No. 395-1-FZ dated December 2, 1990 (as last amended on December 30,
         2021), “On Banks and Banking activity.”



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  See Bank of Russia, 2019 Annual Report, http://www.cbr.ru/Collection/Collection/File/29420/ar_2019.pdf (last
accessed Feb. 23, 2022).



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   Plaintiffs’ Document Request D: Documents sufficient to show the volume and scope of
   services authorized by Article 46 (permitting banking operations and transactions with
   Russian and foreign credit institutions) and Article 48 (permitting banking operations
   and services to certain governmental bodies and natural persons) of Federal Law No. 86-
   FZ and provided to juridical and private individuals by the Central Bank from 2019 to
   present, including the amount of “profit” generated by said services as defined by Article
   11 of Federal Law No. 86-FZ, and any communications with the Central Bank concerning
   these subjects.

   AND

   Plaintiffs’ Document Request E: Documents sufficient to show the extent of the Central
   Bank’s activities from January 1, 2019 through December 31, 2019 generating corporate
   tax liability under Article 284(5) of the Russian Tax Code (providing that Central Bank
   “[p]rofits” earned from activities undertaken outside of the scope of Federal Law No. 86-
   FZ shall be taxed in accordance with the provisions of that Article).

   AND

   Plaintiffs’ Document Request F: Documents sufficient to show the volume and type of
   securities acquired by the Central Bank at the direction of its Board of Directors,
   including the identity and sectors of the entities issuing said securities.

Sberbank’s Response: For the reasons explained above, requests for “documents sufficient to

show” anything about the Bank of Russia’s core functions or activities are properly directed to the

Bank of Russia. See Sinopec, 2022 WL 252029, at *4. In any event, Plaintiffs again fail to explain

why discovery is required beyond publicly available documents and the undisputed evidence of

Russian law. For example, the Bank of Russia’s 2019 Annual Report details the Bank of Russia’s

provision of credit lines to “systemically important credit institutions” and the “emergency

liquidity assistance mechanism” (Bank of Russia, 2019 Annual Report 318), describes the Bank

of Russia’s tax liabilities (id. at 295 (profit statement, including line for “taxes and duties paid

from the Bank of Russia’s profit”)), and provides a detailed “Statement of Bank of Russia

management of securities and stakeholdings in organisations constituting Bank of Russia property”




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(id. at 298). 6 Notwithstanding these objections, Sberbank is willing to provide the documents

listed above in response to the other Issue (2) requests should the Court deem them necessary.

Plaintiffs’ Issue 3: Whether this “action is based upon a commercial activity carried on in
the United States” by Sberbank.

        This request exceeds the scope of the Court’s January 13 Order, directing that jurisdictional

discovery be “limited to the specific facts relevant to determining whether Sberbank is a foreign

sovereign,” and not whether an exception to that immunity applies. ECF No. 266; see also Funk,

861 F.3d at 367.

        In any event, as Sberbank has previously explained, the FSIA’s commercial-activity

exception is not available here because the Anti-Terrorism Act expressly bars claims against

foreign states. See 18 U.S.C. § 2337(2); see also MTD Br. 19-20, ECF No. 258. The FSIA

provides a single exception to that bar for injury or death “occurring in the United States.”

28 U.S.C. § 1605B(b) (emphasis added); see, e.g., Ashton v. Al Qaeda Islamic Army (In re

Terrorist Attacks on Sept. 11, 2001), 298 F. Supp. 3d 631, 642 & n.6 (S.D.N.Y. 2018) (citing

28 U.S.C. § 1605B(b) and (c)). There is no dispute that the death and physical injuries alleged

here occurred over eastern Ukraine. See SAC ¶¶ 1, 75, ECF No. 156.

        Further the SAC does not allege facts sufficient to support the application of the

commercial-activity exception. Rather, the gravamen of Plaintiffs’ claims is necessarily a terrorist

act outside of the United States, not commercial activity in the United States. See Sberbank Ltr.

to Court in Supp. of Mot. to Stay Discovery (Feb. 14, 2022) 13 (explaining that the commercial-

activity exception’s “based upon” language requires the gravamen of the complaint be the United




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  As Professor Efimova explains, “the charter capital and other property of the Bank of Russia shall be in federal
ownership. Efimova Decl. ¶ 18 (quoting Article 2 of the Law on the Bank of Russia).



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States), ECF No. 289. Accordingly, the commercial-activity exception is not available here as a

matter of law and jurisdictional discovery as to its application is improper.

   Plaintiffs’ Document Request A: Documents related to any banking transaction routed
   through Sberbank’s correspondent bank accounts at U.S.-based correspondent banks
   involving the “DPR Individuals and Fundraisers” (as defined and identified in Plaintiffs’
   RFPs).

Sberbank’s Response: This request far exceeds the scope of the Court’s January 13 Order,

directing that jurisdictional discovery be “limited to the specific facts relevant to determining

whether Sberbank is a foreign sovereign.” This document request clearly and impermissibly

targets merits discovery as to the underlying ATA claims and the Court should reject it as such.

In addition, as Plaintiffs are well-aware based on extensive and on-going correspondence and a

meet-and-confer session between the parties, Russian law prohibits Sberbank from disclosing the

bank customer transactions covered by this request.         See, e.g., Federal Law No. 395-1 of

December 2, 1990) (the “Law on Banks”), art. 26 & Russian Civil Code (enacted as No. 14-FZ of

January 26, 1996), art. 857 (restricting disclosure of the existence and ownership of customers’

accounts along with the balances, deposits, transactions, and withdrawals relating to those

accounts). The Court need not unnecessarily complicate and slow jurisdictional discovery to

address these issues before it determines both whether Sberbank is an agency or instrumentality

under the FSIA and whether the commercial-activity exception applies to Plaintiffs’ ATA claims.

Rule 30(b)(6) Deposition of Sberbank:

       Plaintiffs’ request for a Rule 30(b)(6) deposition is groundless, wasteful of party and

judicial resources, and contrary to the law’s preference for limited jurisdictional discovery under

the FSIA. Plaintiffs’ proposed plan lists five deposition topics that (i) are not appropriately

addressed to Sberbank or are properly addressed as a matter of Russian law, (ii) are irrelevant to

the determination of Sberbank’s status under the FSIA, or (iii) abuse the Court’s grant of


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jurisdictional discovery by seeking expedited merits discovery regarding alleged “DPR Individuals

and Fundraisers with Sberbank accounts or transactions.”

   Plaintiffs’ Deposition Topic (1): The Central Bank’s commercial functions relevant to
   Sberbank, including banking services provided by the Central Bank to Sberbank, as a
   Russian credit institution, pursuant to Federal Law No. 86-FZ.
   AND

   Plaintiffs’ Deposition Topic (2): The scope and nature of the Central Bank’s regulatory
   or governmental functions relevant to Sberbank, including the functions described in
   Federal Law No. 86-FZ, the manner in which that regulatory authority is exercised over
   Sberbank as a Russian credit institution, and the degree of governmental oversight
   and/or interference in Sberbank’s operations, including through Supervisory Board seats
   held by representatives of the Central Bank.
Sberbank’s Response: As discussed above, the relationship between Sberbank and the Bank of

Russia is not relevant to the core functions inquiry, which asks whether the Bank of Russia’s core

functions are predominantly governmental such that it is an “integral part” part of the Russian

Federation’s political structure. Garb, 440 F.3d at 594. Moreover, Topic (1) impermissibly

requires the drawing of a legal conclusion as to what constitutes the Bank of Russia’s alleged

“commercial functions relevant to Sberbank.” And Topic (2) asks for information available in

Professor Efimova’s Declaration and the documents identified above.

   Plaintiffs’ Deposition Topic (3): Sberbank’s statements and communications about the
   independence of the Central Bank from the Russian Federation.
Sberbank’s Response: As discussed above, Sberbank’s “communications and statements”

regarding the Bank of Russia’s relationship with the Russian Federation are not authoritative and

thus are not probative of the core functions inquiry. Moreover, Plaintiffs’ overly broad request

would also implicate Russian privacy laws that would unnecessarily complicate and slow

jurisdictional discovery.

   Plaintiffs’ Deposition Topic (4): The sale of Sberbank’s shares from the Central Bank to
   the Ministry of Finance.




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Sberbank’s Response: The core functions test asks whether the Bank of Russia’s core functions

are predominantly governmental such that it is an “integral part” of the Russian Federation’s

political structure. Garb, 440 F.3d at 594. The fact that the Bank of Russia sold its stake in

Sberbank to the Ministry of Finance in 2020 is undisputed. Questions of “why” or “how” the Bank

of Russia transferred ownership of one of its holdings are simply irrelevant to whether the Bank

of Russia is a “political subdivision” within the meaning of the FSIA. See 28 U.S.C. § 1603.

     Plaintiffs’ Deposition Topic (5): Sberbank’s recordkeeping practices concerning banking
     transactions routed through Sberbank’s correspondent bank accounts at U.S.-based
     correspondent banks and internal investigation(s), audits, reports, or discussions
     concerning the DPR Individuals and Fundraisers with Sberbank accounts or
     transactions.
Sberbank’s Response: This topic exceeds the scope of the Court’s January 13 Order, directing

that jurisdictional discovery be “limited to the specific facts relevant to determining whether

Sberbank is a foreign sovereign.” This topic clearly and impermissibly seeks expedited merits

discovery as to the underlying ATA claims and the Court should reject it.

                                                 *        *        *
For the reasons stated above, Sberbank respectfully submits the following Proposed Schedule to

Complete Jurisdictional Discovery and Briefing on its Motion to Dismiss under the FSIA:

         March 4, 2022: Sberbank to produce the documents identified above if the Court deems
         them necessary to the determination of Sberbank’s status as an “agency or instrumentality”
         under the FSIA.

         March 18, 2022: Plaintiffs file their opposition brief, along with any supporting expert or
         fact declarations and the materials upon which those expert or fact declarations rely. 7

         March 31, 2022: Sberbank files its reply brief, along with any rebuttal declarations and
         the materials upon which those rebuttal declarations rely.




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 If the Court grants Plaintiffs’ request to depose Sberbank’s expert, Sberbank request that the Court also authorize a
deposition of any expert presented by Plaintiffs’ prior to Sberbank’s date for filing its reply brief.



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February 23, 2022                 Respectfully submitted,



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